Case: 1:14-cr-00438-BYP Doc #: 151 FEE 04/25/18 1 of 2. PagelD #: 1061

SET um, Y -QA-18-
From: Ryon Malorer™ 50402,- \loO
EGA Gime
| Ro Box ooo
_ Glenvitte WI) 26351

OTFice of The Clerk

Ud. Dist ck Couct

Thormal D. Lamloros Fed . Bldg, 3
United States Gvdhouwe

\Q5 Market Shreet.
Youngtown , Oho 44503

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AE: United Stabes vy. Malone
CoseNe, 41, 4A4-cr-43¢
Civt No. 4 41- Wve AAGO-BYP

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NOTICE OF CLARIFICATION TO SUPPLEMENT PeTiTion
| Pursuant To FedeRAL Rue. Civ. P15 Gd)

| Dew Clerk,

| Pleuse lhe odv Sed theca Pysunot +o

lie Order Which WAS iSSvedl ”y The Honocabile Sudye
Benita ie Pearson, On 4-4-\k it iS my intention

tO hove Wy iSdue heard as a Supplemental Pecdinyy
AS Set out above.
Case: 1:14-cr-00438-BYP Doc #: 151 Filed: 04/25/18 2 of 2. PagelD #: 1062

Ey addition a am humbly, Requesk oe 2S thee gait oS eroemacng ines

| Petucn a Copy of AND pottce cto Me, VeciByino)
- Hehe At has been docketed for wa ae

‘fecord.
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= s caceitd Ikke to thule \ou ja advance

for your time and Consideration , ik iS oyrecctly _
“appreciated .
